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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )       CRIMINAL ACTION NO.
        v.                            )          2:06cr71-MHT
                                      )
BERNETTA LASHAY WILLIS                )

                                   ORDER

       It is ORDERED that defendant Bernetta Lashay Willis

may    submit     a   brief   in   response     to   the    government’s

notice of supplemental authority (Doc. 440) by May 27,

2021.

       DONE, this the 13th day of May, 2021.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
